                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                 5:14-CV-00047-RLV
                               (5:01-CR-00005-RLV-7)

TROY JAMES POWELL,                            )
                                              )
               Petitioner,                    )
                                              )
         v.                                   )
                                              )                  ORDER
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )
                                              )

       THIS MATTER is before the Court on an initial review of Petitioner’s motion to vacate,

set aside or correct sentence, filed pursuant 28 U.S.C. § 2255. For the reasons that follow, the §

2255 motion will be dismissed as successive.

                                      I.       BACKGROUND

       On March 14, 2002, a jury in this district convicted Petitioner on one count of conspiracy

to possess with intent to distribute a quantity of cocaine base, in violation of 21 U.S.C. §§ 846 &

841(b). On February 6, 2004, the United States Fourth Circuit Court of Appeals affirmed

Petitioner’s conviction and his sentence of 240-months’ imprisonment. United States v. Powell,

86 F. App’x 612 (4th Cir. 2004) (unpublished).

       On September 24, 2004, Petitioner filed a § 2255 motion to vacate which was denied and

dismissed on the merits. (5:04-CV-00154-RLV). On December 1, 2005, the Fourth Circuit

dismissed Petitioner’s appeal. United States v. Powell, 155 F. App’x 725 (4th Cir. 2005)

(unpublished). Next, the Court dismissed a motion filed by Petitioner after concluding that it was

an unauthorized, successive § 2255 motion under 28 U.S.C. § 2255(h). (5:07-CV-00078-RLV).


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The Fourth Circuit dismissed his appeal. United States v. Powell, 255 F. App’x 724 (4th Cir.

2007).

                                II.    STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that no response is

necessary from the United States. Further, the Court finds that this matter can be resolved

without an evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

                                       III.    DISCUSSION

         The present § 2255 motion was docketed in this Court on April 9, 2014, and therein

Petitioner seeks to present a claim that he is entitled to sentencing relief based on the Supreme

Court’s opinion in Alleyne v. United States, 133 S.Ct. 2151 (2013). As noted, Petitioner has

previously filed motions for collateral relief that have been dismissed in this district.

         The Antiterrorism and Effective Death Penalty Act (AEDPA) provides, in relevant part,

that “[a] second or successive motion [under Section 2255] must be certified as provided in

Section 2244 by a panel of the appropriate court of appeals to contain—

         (1) newly discovered evidence that, if proven and viewed in light of the evidence
             as a whole, would be sufficient to establish by clear and convincing evidence
             that no reasonable factfinder would have found the movant guilty of the
             offense; or

         (2) a new rule of constitutional law, made retroactive to cases on collateral
             review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).



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       There is no evidence that Petitioner has obtained the necessary authorization from the

Fourth Circuit to file the instant § 2255 motion. The Court is therefore without jurisdiction to

consider the merits, if any, of his § 2255 motion for relief. See, e.g, In re Vial, 115 F.3d 1192,

1194 (4th Cir. 1997); United States v. Winestock, 340 F.3d 200, 205 (4th Cir. 2003). For the

foregoing reasons, Petitioner’s Section 2255 motion will be dismissed without prejudice.

                                      IV.     CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate under § 2255 is

DISMISSED without prejudice. (Doc. No. 1).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (stating that in order to satisfy § 2253(c), a

petitioner must demonstrate that reasonable jurists would find the district court’s assessment of

the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000)

(holding that when relief is denied on procedural grounds, a petitioner must establish both that

the correctness of the dispositive procedural ruling is debatable and that the petition states a

debatably valid claim of the denial of a constitutional right).

       IT IS SO ORDERED.

                                                 Signed: April 16, 2014




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